        Case 6:20-cv-00473-ADA Document 85 Filed 04/21/21 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                                WACO
                                WACO DIVISION


WSOU INVESTMENTS LLC                       §
                                           §     CIVIL NO:
vs.                                        §     WA:20-CV-00473-ADA
                                           §
DELL TECHNOLOGIES INC., DELL INC.,         §
EMC CORPORATION


       ORDER CANCELLING MARKMAN HEARING
                                HEARING - DAY 2


      IT IS HEREBY ORDERED that the above entitled and numbered case having been set
for MARKMAN HEARING - DAY 2 on Friday, April 30, 2021 at 09:00 AMis hereby
CANCELLED until further order of the court.

       IT IS SO ORDERED this 21st day of April, 2021.




                                           Alan D Albright
                                           UNITED STATES DISTRICT JUDGE
